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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                               5:21-CR-50148-JLV

                    Plaintiff,
                                                   ORDER DENYING MOTION TO
       vs.                                        COMPEL (DOC. 58) AND MOTION
                                                     FOR JOINDER (DOC. 59)
PHILLIP MOORE and MATTHEW
BERNSTEIN,

                    Defendants.


      Defendant, Phillip Moore, filed a motion to compel the government to

turn over certain discovery. (Doc. 58). Defendant, Matthew Bernstein, filed a

motion for joinder to the motion to compel. (Doc. 59). The pending motion was

referred to the Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and

United States District Judge Judge Jeffrey L. Viken’s Standing Order dated

April 1, 2018.

                                   DISCUSSION

      District of South Dakota Criminal Local Rule 47.1(A) states that “[b]efore

filing a discovery motion, the certification required under D.S.D. Crim. LR 16.1

must be met.” Local Rule 16.1 states “[a] party filing a motion concerning a

discovery dispute must file a separate certification describing the good faith

efforts of the parties to resolve the dispute.”

      “[T]he application of local rules is a matter peculiarly within the district

court's province.” Chrysler Credit Corp. v. Cathey, 977 F.2d 447, 449 (8th Cir.
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1992) (internal quotations omitted); Reasonover v. St. Louis Cnty., 447 F.3d

569, 579 (8th Cir. 2006) (“District courts have broad discretion to . . . enforce

local rules.”). A movant’s failure to comply with the meet and confer

requirement may dictate denial of his motion. United States v. Wicks, No. 11-

CV-5027-JLV, 2012 WL 1576000, at *2 (D.S.D. May 3, 2012) (analyzing D.S.D.

Civ. LR 37.1, which, like Crim. LR 16.1, requires parties to “file a separate

certification describing the good faith efforts of the parties to resolve the

dispute.”). The goal of these requirements is to make sure that discovery

motions are not brought before the court that the parties could have resolved

informally between themselves. Id.

      Mr. Moore’s motion does not provide any description of efforts made by

either party to resolve the dispute, nor did Mr. Moore file a separate

certification describing his efforts to meet and confer with the Assistant United

States Attorney regarding the request set forth in his motion. Simply informing

the court of the existence of a discovery request that has been unanswered falls

short of the requirements of D.S.D. Crim. LR 47.1(A) and 16.1.

      Likewise, Mr. Bernstein’s motion does not provide any description of

efforts made to resolve the dispute or a separate certification describing efforts

to meet and confer regarding the discovery request.

      Defendants therefore have failed to comply with Local Rules 47.1(A) and

16.1. Accordingly, it is
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      ORDERED that Defendant Phillip Moore’s motion to compel discovery

(Doc. 58) and Defendant Matthew Bernstein’s motion for joinder (Doc. 59) are

denied without prejudice.

                         NOTICE OF RIGHT TO APPEAL

      Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

of this order before the district court upon a showing that the order is clearly

erroneous or contrary to law. The parties have fourteen (14) days after service

of this order to file written objections pursuant to 28 U.S.C. § 636(b)(1)(A),

unless an extension of time for good cause is obtained. See FED. R. CRIM. P.

58(g)(2); 59(a). Failure to file timely objections will result in the waiver of the

right to appeal questions of fact. FED. R. CRIM. P. 59(a). Objections must be

timely and specific in order to require review by the district court.

      DATED this 31st day of March, 2022.
                                       BY THE COURT:


                                       DANETA WOLLMANN
                                       United States Magistrate Judge
